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            United States Court of Federal Claims
                                      No. 18-357 L
                               Filed: September 28, 2018


THE UTE INDIAN TRIBE OF
THE UINTAH AND OURAY
RESERVATION,

             Plaintiff,

v.

UNITED STATES OF AMERICA,

             Defendant,



           ORDER GRANTING MOTION FOR EXTENSION OF TIME

        This is among the most routine of motions that a court hears, yet at the same time
the most difficult to resolve in a manner that is fair to the parties. Defendant’s motion
mentions a number of complications that we have no means of evaluating without an
explanation of how these complications have caused delays in the past and what has been
done to avoid such delays in the future. On the other hand, we cannot order the
impossible, if that's what we're dealing with here. Plaintiffs consented to previous
extensions in good faith, no doubt assuming that the additional time would be sufficient
for defendant to resolve whatever it said its problems were. It seems that plaintiffs are
entitled now to a response of some sort, after six months of waiting to understand the
nature of defendant's case.

       Defendant’s answer was due on October 9, a little more than ten days hence. It
seeks an additional 15 days, which defendant calculates to October 24.

       Defendant’s motion for an extension to file an Answer or otherwise respond to the
Complaint is GRANTED. Defendant will file an Answer or otherwise respond to the
Complaint on or before October 24, 2018. However, the court expects defendant to make
all reasonable efforts to meet this deadline and avoid any additional requests for

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extensions on this deadline. Defendant’s motion to expedite consideration of the motion
for extension of time is DENIED as moot.


      IT IS SO ORDERED.


                                         Robert H. Hodges, Jr.
                                        s/
                                        Robert H. Hodges, Jr.
                                        Senior Judge




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